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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA

MARILYN MONAE PORTER,                        )
    a/k/a LAMONE M. JOHNSON,                 )
                                             )
                          Plaintiff,         )
                                             )      CIV-22-023-R
v.                                           )
                                             )
JOEL MCCURDY, et. al.,                       )
                                             )
                          Defendants.        )

           SUPPLEMENTAL REPORT AND RECOMMENDATION

      Plaintiff, a state prisoner appearing pro se and in forma pauperis, brings

this action pursuant to 42 U.S.C. § 1983 alleging violations of constitutional

rights. Currently before the Court is Plaintiff’s Motion for Temporary Restraining

Order. Doc. No. 50. The Motion has been referred to the undersigned Magistrate

Judge for initial proceedings consistent with 28 U.S.C. § 636(b)(1)(B). For the

reasons set forth below, the undersigned recommends Plaintiff’s Motion be

denied.

I. Background Information

      Plaintiff is incarcerated in the Oklahoma State Penitentiary (“OSP”) located

in McAlester, Oklahoma. In her Complaint, Plaintiff asserts claims under the
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Eighth and Fourteenth Amendments. Id. at 4-6.1 As Defendants, she has named

Joel McCurdy, Oklahoma Department of Corrections (“ODOC”) Chief Medical

Officer, and ODOC’s Utilization Review Committee. Id. at 3.

       In her Complaint, Plaintiff explains that she suffers from gender dysphoria.

Id. at 4-6. A Qualified Healthcare Professional (“QHCP”), Dr. Payne Wren,

appointed by Defendant McCurdy, diagnosed Plaintiff with this condition. Id. at

5, 6. Pursuant to ODOC policy, the QHCP submitted a request to Defendants for

Plaintiff to receive certain surgical treatments. Id. Defendants denied the request.

Id.

       By this action, Plaintiff asserts an Eighth Amendment claim alleging that

in denying the surgical requests, Defendants were deliberately indifferent to her

serious medical needs. Id. at 4-6. Additionally, Plaintiff asserts a claim under the

Fourteenth Amendment’s equal protection clause based on allegations that

Defendants approved similar surgeries for a fellow inmate. Id. 4, 6.

       In Plaintiff’s Motion for Temporary Restraining Order (“TRO”) and related

filings, she indicates she has been and will continue to be a victim of assaults and


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  Throughout the pleadings and briefs in this matter, Plaintiff and Defendants refer to
Plaintiff using she/her pronouns. Although the Court is not making a legal determination
as to Plaintiff’s legal gender, for the sake of clarity and consistency, as well as out of
respect for Plaintiff’s status as a transgender individual, the Court will also refer to
Plaintiff using she/her pronouns.
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sexual harassment from other inmates. Doc. Nos. 50-52. Additionally, Plaintiff

asserts that OSP officials are aware of the assaults and harassment and not only

do nothing to stop these incidents, they encourage them. Id. She requests the Court

enter a TRO directing OSP officials to refrain from failing to protect Plaintiff from

inmate assaults, from taking certain actions that make assaults more likely, and

from inciting and encouraging such action from Plaintiff’s fellow inmates. Id.

II. Analysis

      Plaintiff’s Motion should be denied for two reasons. First, pursuant to

Federal Rule of Civil Procedure 65(d)(2), an injunction is only binding upon the

parties to the action or those persons in active concert or participation with them.

In her Motion, Plaintiff asserts OSP officials are failing to protect her and/or

encouraging her harm. However, OSP officials are not parties to this lawsuit.

Instead, Defendants are limited to ODOC’s Chief Medical Officer, Joel McCurdy,

and ODOC’s Utilization Review Committee.

      Second, even if the Court could bind OSP officials, Plaintiff has asked for

relief that is unrelated to the underlying claims in her Complaint. A TRO grants

intermediate relief of the same character as that which may be finally granted.

DeBeers Consol. Mines v. United States, 325 U.S. 212, 220 (1945). Thus, “the

movant must establish a relationship between the injury claimed in the party’s

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motion and the conduct asserted in the complaint.” Little v. Jones, 607 F.3d 1245,

1251 (10th Cir. 2010) (quotations omitted). If she fails to do so, the court is

powerless to enter a TRO. See, cf., Colum v. Winchester, No. CIV–12–561–HE,

2012 WL 3594804, at *1 (W.D. Okla. June 21, 2012) (“When the movant seeks

intermediate relief beyond the claims in the complaint, the court has no authority

to enter a preliminary injunction.”). See also McMiller v. Corr. Corp. of Am., No.

CIV-14-161-W, 2016 WL 1045567, at *1 (W.D. Okla. Mar. 15, 2016) (denying

motions for preliminary injunction and TRO because “[t]he prison officials[’] . . .

conduct – refusal to provide certain prescribed medication – is not related to the

events giving rise to this lawsuit.”); Hicks v. Jones, 332 F. App’x 505, 508 (10th

Cir. 2009) (affirming district court’s denial of motion for preliminary injunction

or TRO seeking to “prevent [the plaintiff’s] transfer out of the prison’s protective

custody unit . . . [while] his complaint alleged that defendants failed to protect

him from his cellmate”).

      For both of these reasons, the Court lacks the authority to enter the

requested relief against OSP officials. Accordingly, Plaintiff’s Motion should be

denied.

                             RECOMMENDATION

      Based on the foregoing findings, it is recommended Plaintiff’s Motion for

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Temporary Restraining Order (Doc. No. 50) be DENIED. Plaintiff is advised of

her right to file an objection to this Supplemental Report and Recommendation

with the Clerk of this Court by July 28th, 2022, in accordance with 28 U.S.C. §636

and Fed. R. Civ. P. 72. The failure to timely object to this Supplemental Report

and Recommendation would waive appellate review of the recommended ruling.

Moore v. United States of America, 950 F.2d 656 (10th Cir. 1991); see, cf.,

Marshall v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996) (“Issues raised for the

first time in objections to the magistrate judge’s recommendation are deemed

waived.”).

      This Supplemental Report and Recommendation does not dispose of all

issues referred to the undersigned Magistrate Judge in the captioned matter.

      Dated this   8th day of July, 2022.




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